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8
                        UNITED STATES DISTRICT COURT
9
                       CENTRAL DISTRICT OF CALIFORNIA
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11                                               )
     EMMANUEL PAUL,                              )    Case No. CV 20-2403-VAP (JEM)
12                                               )
                         Plaintiff,              )
13                                               )    JUDGMENT
                  v.                             )
14                                               )
     CMC,                                        )
15                                               )
                         Defendant.              )
16                                               )
17
            In accordance with the Order Accepting Findings and Recommendations of United
18
     States Magistrate Judge filed concurrently herewith,
19
            IT IS HEREBY ADJUDGED that this action is dismissed without prejudice.
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     DATED: October 19, 2020
22                                                        VIRGINIA A. PHILLIPS
                                                     UNITED STATES DISTRICT JUDGE
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